USDC IN/ND case 1:15-cr-00002-HAB-SLC               document 144        filed 05/26/16     page 1 of 9


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

 UNITED STATES OF AMERICA                      )
                                               )
        v.                                     )       CASE NO.: 1:15-CR-2-TLS
                                               )
 LARRY J. NORTON                               )

                                     OPINION AND ORDER

        In July 2014, the Federal Bureau of Investigation (FBI) recruited an informant who

 provided valuable information on the inner circle of a drug operation led by Allan Bates.

 Through their investigation, the FBI identified the Defendant, Larry Norton, as member of the

 conspiracy, who was responsible for counting money and distributing cocaine. Investigators

 believed that, on November 7, 2014, the Defendant would be transporting drug proceeds. They

 conducted surveillance, initiated a traffic stop, and obtained a search warrant for his vehicle.

 Their search revealed hidden compartments containing more than $400,000.

        A grand jury indicted the Defendant, along with four other defendants, of knowingly and

 intentionally conspiring to distribute and possess with intent to distribute controlled substances, a

 violation of 21 U.S.C. § 846. On June 24, 2015, the Defendant filed a Motion to Suppress

 Evidence [ECF No. 75], seeking suppression of all evidence collected as a result of the traffic

 stop. Upon referral from this Court, Magistrate Judge Susan L. Collins held evidentiary hearings

 on October 29 and December 1, 2015, received post-hearing briefing, and issued a Report and

 Recommendation [ECF No. 135], recommending that the Court deny the Defendant’s Motion to

 Suppress.

        This matter is now before the Court on the Defendant’s Objections to the Report and

 Recommendation [ECF No. 137], and the Government’s Response [ECF No. 140].
USDC IN/ND case 1:15-cr-00002-HAB-SLC                 document 144     filed 05/26/16     page 2 of 9


                                    STANDARD OF REVIEW

        Under 28 U.S.C. § 636(b)(1)(A)–(B), a magistrate judge does not have authority to issue

 a final order on a motion to suppress evidence in a criminal case. Instead, the magistrate judge

 submits proposed findings of fact and recommendations to the district court. If a party files a

 timely objection to the magistrate judge’s report and recommendation, § 636(b)(1) provides that

        the district judge is to make a de novo determination of those portions of the
        report or specified proposed findings or recommendations to which objection is
        made. The court may accept, reject, modify, in whole or in part, the findings or
        recommendations made by the magistrate judge. The judge also may receive
        further evidence or recommit the matter to the magistrate judge with instructions.

        The Defendant objects to the Magistrate Judge’s finding that the testimony supported the

 conclusion that the Defendant was driving 72 miles per hour. He also objects to the alternative

 basis for the stop—i.e., that information obtained through a long-term drug investigation

 provided reasonable suspicion—because the stop was “walled off” from the drug investigation.

        De novo review does not require a de novo evidentiary hearing, even when witness

 credibility is at issue. See United States v. Raddatz, 447 U.S. 667, 673–76 (1980). Neither party

 has requested a hearing, and the Court finds that the record before the Magistrate Judge is

 sufficient to allow this Court to make a de novo determination.



                                            ANALYSIS

 A.     Probable Cause That the Defendant Committed a Traffic Violation

        The Supreme Court has held that the decision to stop an automobile is reasonable when

 the police have probable cause to believe that a traffic violation has occurred. Whren v. United

 States, 517 U.S. 806, 810 (1996); United States v. Smith, 668 F.3d 427, 430 (7th Cir. 2012) (“A


                                                  2
USDC IN/ND case 1:15-cr-00002-HAB-SLC                 document 144     filed 05/26/16     page 3 of 9


 traffic stop does not violate the Fourth Amendment when the police officer has probable cause to

 believe that a driver has committed [a traffic violation].”). Probable cause exists when “the

 circumstances confronting a police officer support the reasonable belief that a driver has

 committed even a minor traffic offense.” United States v. Cashman, 216 F.3d 582, 586 (7th Cir.

 2000). In other words, the circumstances must be “sufficient to warrant a man or woman of

 prudence to believe[] that a moving violation has occurred.” United States v. Williams, 106 F.3d

 1362, 1365 (7th Cir. 1997). “A stop and search can be reasonable even if the defendant did not

 actually commit an offense as long as the officer reasonably believed an offense occurred.”

 United States v. McDonald, 453 F.3d 958, 960 (7th Cir. 2006).

        Officers Brad Shultz, Jeffrey Robertson, Adalberto Martinez, Gary Schenefield, and

 James Keszie testified at the evidentiary hearing. The Magistrate Judge found that their

 testimony was not meaningfully contested, except with respect to one point—whether the 55

 mph signs in the construction zone were flashing at the time of the traffic stop. On that point, she

 credited the testimony of Terry Olding, a construction project manager/project engineer with the

 Indiana Department of Transportation, and concluded that the flashing markers on the barrels

 and other construction signs caused Officer Shultz to mistakenly perceive that the 55 mph signs

 were turned on. Therefore, the posted speed limit of 70 mph was the controlling limit. However,

 the testimony also supported the conclusion that the Defendant was driving faster than the posted

 limit at 72 mph.

        The Defendant objects to the Magistrate Judge’s finding that the testimony supported the

 conclusion that the Defendant was driving 72 mph in a 70 mph zone. The Report contains the

 following description of the stop:


                                                  3
USDC IN/ND case 1:15-cr-00002-HAB-SLC                 document 144     filed 05/26/16     page 4 of 9


                 Special Agent Robertson was part of the surveillance team following
        Norton. (Tr. 91, 93). He used his vehicle’s speedometer to determine Norton’s
        speed by “pacing” him. (Tr. 94–95). Over the course of about 20 minutes on the
        highway, Special Agent Robertson observed Norton traveling from 70 to 75 mph.
        (Tr. 94–95). The decision to stop Norton was made when he entered a
        construction zone near mile marker 333. (Tr. 95). The construction zone was
        fairly long and marked with barrels with flashing markers, construction
        equipment, approximately 20 construction signs, and four 55 mph speed limit
        signs that said “55 when flashing”; both northbound lanes were open. (Tr. 19, 68,
        95–96, 100). Due to the early morning hour, it was dark outside and no
        construction workers were observed. (Tr. 68). Officer Shultz testified that the 55
        mph signs were flashing. (Tr. 19). Special Agents Robertson and Keszei testified
        that they saw flashing lights in the construction zone, but they could not say for
        sure whether the 55 mph signs were flashing or whether the flashing lights were
        on the barrels. (Tr. 95, 100–01, 223–24). Officer Shultz and Special Agents
        Robertson and Keszei all believed that the speed limit in the construction zone
        was 55 mph at the time. (Tr. 18–19).

                Officer Shultz was in radio contact with the undercover agents following
        Norton. (Tr. 16–17, 231). Officer Shultz was asked to move into position after
        the agents “had a speeding violation on the vehicle at 72 in a 55 construction
        zone.” (Tr. 18). Special Agent Robertson moved over for the marked police unit
        driven by Officer Shultz and verified that Officer Shultz was behind the right
        truck. (Tr. 96–97). Officer Shultz then used his radar and confirmed that Norton
        was traveling at 72 mph in a 55 mph construction zone at approximately 6:20 a.m.
        (Tr. 18–19, 21, 24, 79). The radar was hooked into the patrol car’s speedometer,
        so Officer Shultz matched Norton’s speed and confirmed the radar’s results with
        his own speedometer, with Norton maintaining a speed of 72 mph for about three
        to four miles. (Tr. 19–20, 79). Officer Shultz confirmed the reliability and
        accuracy of his radar on a daily basis at the beginning and end of his shift. (Tr.
        19–21).

                Officer Shultz initiated a traffic stop, and Norton stopped the truck on the
        right shoulder of the highway, north of Auburn and just south of the Waterloo
        exit. (Tr. 19, 23).

 (Report and Recommendation 6–7.)

        The Defendant asserts that ample evidence contradicts Officer Schultz’s testimony

 regarding the Defendant’s speed. First, he maintains that Officer Schultz provided inaccurate

 testimony when he stated that he “confirmed” that the Defendant’s speed was 72 mph because


                                                  4
USDC IN/ND case 1:15-cr-00002-HAB-SLC                 document 144     filed 05/26/16     page 5 of 9


 Agent Robertson had only narrowed the Defendant’s speed to a range between 70 and 75 mph.

 The common sense interpretation of the testimony does not reveal any contradictions. During the

 time that Officer Robertson paced the Defendant, he was able to determine that he drove

 between 70 and 75 mph. Then, Officer Schultz used his radar to pinpoint the Defendant’s speed

 at 72 mph for three to four miles.

         Next, pointing to the agents’ testimony that they were looking for any traffic violations,

 the Defendant argues that if he were actually driving 72 mph for more than twenty miles while

 being following, they would have stopped him immediately. As the Defendant sees it, because he

 was not stopped as soon as he violated the speed limit, the accuracy of the testimony about his

 speed must be questioned. The Defendant’s argument fails to recognize a logical, alternative

 explanation; the agents expected that the traffic stop would be triggered by a violation that was

 more serious than driving a couple miles over the speed limit. As the Defendant himself argued,

 police do not typically stop a motorist for going just two miles over the speed limit. The agents

 reasonably believed that they had witnessed a more significant violation when the Defendant

 maintained this same speed after entering a construction zone. Thus, it was at that point they

 decided to initiate the stop.

         Finally, the Defendant considers it problematic that Agent Keszei testified to the grand

 jury that the Defendant’s speed was 70 mph at the time of the stop. The grand jury was not

 tasked with determining whether there was probable cause to believe the Defendant had

 committed a speeding violation, so referencing the Defendants’ speed made no difference to

 their deliberations. There is no reason to think that Agent Keszei would have been concerned

 with identifying the Defendant’s exact speed, particularly when he believed that the posted limit


                                                  5
USDC IN/ND case 1:15-cr-00002-HAB-SLC                 document 144      filed 05/26/16     page 6 of 9


 was 55 mph due to construction.

        Finding no error in the Magistrate Judge’s findings of fact regarding the circumstances

 leading up to the traffic stop, the Court ADOPTS those findings of fact. The Court also

 ADOPTS the Magistrate Judge’s conclusion that these facts established probable cause to

 believe that the Defendant had committed a traffic violation.



 B.     Reasonable Suspicion that the Vehicle Contained Evidence of a Crime

        The Defendant’s Objections to the Report and Recommendation also challenges the

 Magistrate Judge’s second rationale for finding that the traffic stop did not violate the Fourth

 Amendment, which was that the underlying drug investigation provided reasonable suspicion

 that the vehicle would contain evidence of criminal activity. Essentially, the Defendant argues

 that because the stop was “walled off” from the drug investigation, it is not permissible to use the

 evidence gathered during the investigation as a basis for the stop. He presented this argument in

 the post-hearing briefing to the Magistrate Judge, but she rejected it on grounds that “the fact

 that the agents preferred to make a ‘walled off’ traffic stop to protect their informant and long

 standing drug investigation does not mean that they lacked reasonable suspicion to make the

 traffic stop based on that investigation.” (Report and Recommendation 17.) The Defendant

 objects to this finding. He maintains that, under this logic, a pretextual stop conducted without

 probable cause can “retroactively be made legal by advancing a theory to which none of the

 officers involved subscribed at the time of the stop.” (Objection 3–4.) This, he argues, is

 unlawful because “reasonable suspicion must exist at the time the officer stops an individual; it

 cannot come after the fact.” United States v. Ienco, 182 F.3d 517, 525 (7th Cir. 1999).


                                                  6
USDC IN/ND case 1:15-cr-00002-HAB-SLC                  document 144      filed 05/26/16      page 7 of 9


        The Court finds no merit to the Defendant’s argument that because the investigators

 wanted to conduct a “walled-off” traffic stop, they were then required to develop independent

 probable cause to initiate the traffic stop. Just because the officers did not want to rely solely on

 their drug investigation, does not mean that they were not “able to point to specific and

 articulable facts which, taken together with rational inferences from those facts, reasonably

 warrant that intrusion.” Terry v. Ohio, 392 U.S. 1, 21 (1968). Reasonable suspicion is based on

 the totality of the circumstances “known to the officer” when they make the stop. United States

 v. Uribe, 709 F.3d 646, 650 (7th Cir. 2013). “[S]ubjective motivations for stopping and detaining

 a suspect are not relevant to the reasonableness inquiry.” United States v. Bullock, 632 F.3d

 1004, 1012 (7th Cir. 2011). When officers are in communication regarding a suspect or are

 working together at a scene, the knowledge of one officer may be imputed to the other officers

 under the collective knowledge doctrine. United States v. Sawyer, 224 F.3d 675, 680 (7th Cir.

 2000); United States v. Williams, 627 F.3d 247, 252 (7th Cir. 2010) (“The collective knowledge

 doctrine permits an officer to stop, search, or arrest a suspect at the direction of another officer or

 police agency, even if the officer himself does not have firsthand knowledge of facts that amount

 to the necessary level of suspicion to permit the given action.”).

        The Defendant’s argument was specifically rejected by the Seventh Circuit’s decision in

 Williams. In that case, a DEA agent had probable cause to believe that the defendant had just

 completed a drug transaction. 627 F.3d at 249. He asked local law enforcement officers, who

 were on standby to assist and positioned in the area, to stop a specific vehicle “after developing

 their own probable cause to do so.” Id. Although the district court did not believe that the officer

 had probable cause to search the vehicle based on a seat belt violation, it nevertheless denied the


                                                   7
USDC IN/ND case 1:15-cr-00002-HAB-SLC                  document 144      filed 05/26/16     page 8 of 9


 defendant’s motion to suppress on grounds that the DEA investigation and surveillance evidence

 gave the officer probable cause to search the vehicle under the collective knowledge doctrine. Id.

 at 250–51.

        On appeal, the defendant argued that because the officer had been instructed to “develop

 his own probable cause to stop and search” the vehicle, the officer was “precluded . . . from

 relying on the DEA’s knowledge, and therefore [the officer] could not have been acting in

 objective reliance on the information he received from [the DEA agent], as is required for the

 application of the collective knowledge doctrine.” Id. at 253. The court disagreed with the

 defendant’s characterization of the DEA agent’s instruction, as the agent had not “forbid” the

 officer from relying on the information collected by the DEA task force. “Rather, [the DEA

 agent] sought to conceal the existence of the DEA investigation and wire taps from [the targets

 of the investigation].” Id. “That effort has no impact on the fact that the DEA agents had

 probable cause, on which [the officer] was entitled to rely.” Id. (pointing to decisions from other

 appeals courts that the application of the collective knowledge doctrine was “unaffected by an

 officer’s use of a cover story to disguise a stop as a mere traffic stop”). It made no difference to

 the outcome in Williams that the officer testified that he did not rely on information from the

 DEA to justify the search because his “subjective reasons for making the stop and initiating the

 search [were] irrelevant.” Id. at 254 (The officer’s “motivations for the stop and search do not

 affect the collective knowledge doctrine analysis.”).

        Likewise, here, the agents made a strategic decision to attempt a traffic stop that was

 “walled off” from the investigation so that the long-term drug investigation would not be

 detected and the agents could continue to investigate the drug conspiracy. (Tr. 157–58, 230,


                                                   8
USDC IN/ND case 1:15-cr-00002-HAB-SLC                 document 144      filed 05/26/16      page 9 of 9


 234.) They contacted Office Shultz specifically for the task of making a traffic stop, completing

 a vehicle search, and recovering illegal items that the agents suspected were inside. Officer

 Shultz was fully aware of his role and the reason the agents wanted him to target the Defendant’s

 vehicle. Additionally, Officer Shultz had already been involved with the investigation, and knew

 that it involved drugs, large amounts of cash, and hidden compartments within vehicles for

 hiding those items. Accordingly, he knew even more about the investigation than did the officer

 in Williams.

        The facts set forth in the Report and Recommendation, all of which were known to the

 Task Force agents before the traffic stop on November 7, 2014, and imputed to Officer Shultz,

 supported the reasonable belief that the Defendant was engaged in criminal activity, and that his

 vehicle would contain evidence of that activity. The Court ADOPTS those facts, as well as the

 conclusion that they created reasonable suspicion that the Defendant was engaged in criminal

 activity at the time of the traffic stop. Accordingly, the Motion to Suppress is denied.



                                          CONCLUSION

        For the reasons stated above, the Court ADOPTS the Report and Recommendation [ECF

 No. 135], and DENIES the Motion to Suppress Evidence [ECF No. 75]. A separate scheduling

 order will be issued.

        SO ORDERED on May 26, 2016.

                                                        s/ Theresa L. Springmann
                                                        THERESA L. SPRINGMANN
                                                        UNITED STATES DISTRICT COURT




                                                  9
